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     UNITED STATES DISTRICT COURT                                   EASTERN DISTRICT OF TEXAS


 THOMAS LAMONT MURPHY,                                 §
                                                       §
                  Plaintiff,                           §
                                                       §
 versus                                                §     CIVIL ACTION NO. 1:17-CV-431
                                                       §
 FELICIAR DAVIS, et al.,                               §
                                                       §
                                                       §
                  Defendants.                          §

                               MEMORANDUM OPINION AND ORDER

          Plaintiff, Thomas Lamont Murphy, an inmate formerly confined at the Hightower Unit

 with the Texas Department of Criminal Justice, Correctional Institutions Division, proceeding pro

 se and in forma pauperis, filed this civil rights complaint pursuant to 28 U.S.C. § 1983 against

 defendants Feliciar Davis, David Montgomery, Mary Gilder, Wayne Brewer and Steve Massie.

          The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

 The Magistrate Judge recommends dismissing plaintiff’s civil rights action for want of

 prosecution pursuant to Federal Rule of Civil Procedure 41(b) (docket entry no. 29).

          The court has received and considered the Report and Recommendation of United States

 Magistrate Judge filed pursuant to such referral, along with the record, and pleadings. No

 objections to the Report and Recommendation have been filed to date.1




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          A copy of the Report and Recommendation was returned with the notation “unable to forward” on June 19,
          2020 (docket entry no. 30).
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                                             ORDER

        Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

 and the report of the Magistrate Judge is ADOPTED. A Final Judgment will be entered in

 accordance with the recommendations of the Magistrate Judge.

        SIGNED at Beaumont, Texas, this 17th day of September, 2020.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE




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